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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 UMG RECORDINGS, INC., CAPITOL
 RECORDS, LLC, SONY MUSIC
 ENTERTAINMENT, ARISTA MUSIC, ARISTA
 RECORDS LLC, ATLANTIC RECORDING                        Case No. 1:24-cv-04777-AKH
 CORPORATION, RHINO ENTERTAINMENT
 COMPANY, WARNER MUSIC INC., WARNER
 MUSIC INTERNATIONAL SERVICES
 LIMITED, WARNER RECORDS INC.,
 WARNER RECORDS LLC, and WARNER
 RECORDS/SIRE VENTURES LLC,

                            Plaintiffs,

              v.

 UNCHARTED LABS, INC., d/b/a Udio.com, and
 JOHN DOES 1-10,

                           Defendant.


     ORDER REGARDING NOTICE OF MOTION TO MAINTAIN UNDER SEAL
      PORTIONS OF EXHIBIT J TO THE PARTIES’ JOINT LETTER MOTION

       Pending before this Court is Defendant Uncharted Labs, Inc., d/b/a Udio.com’s (“Udio’s”)

motion to maintain under seal highlighted portions of Exhibit J to the parties’ February 18, 2025

Joint Letter Motion. See Dkt. No. 73 (sealed, highlighted version); see also Dkt. No. 71-10

(public, redacted version). Udio’s motion was filed pursuant to Paragraphs 20 and 21 of the

Stipulated Protective Order, Dkt. No. 67, and Rule 4(B) of the Court’s Individual Rules.

The Court previously granted Plaintiffs’ motion to file certain portions of Exhibit J under seal

on February 21, 2025. See Dkt. No. 74; see also Dkt. No. 72 (Plaintiffs’ sealing motion, filed

with the parties’ February 18, 2025 Joint Letter Motion).




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For the reasons set forth in Udio’s Notice of Motion, Memorandum of Law, and the Declaration

of Brittany N. Lovejoy submitted in support thereof, Udio’s motion to maintain certain portions

of Exhibit J (Dkt. No. 73) under seal is GRANTED.


 IT IS SO ORDERED.


         February 27
Dated: ________________, 2025                       /s/ Alvin K. Hellerstein
                                                  ________________________________
                                                  HON. ALVIN K. HELLERSTEIN
                                                  U.S. DISTRICT COURT JUDGE




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